                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:15-00037
                                                   )       JUDGE CAMPBELL
FRANK JEFFREY KELLY, JR.                           )


                                            ORDER

       Pending before the Court is the Defendant’s Motion To Continue Trial Date And Filing

Deadlines (Docket No. 275). By Order entered July 20, 2015 (Docket No. 274), the Court

continued the trial in this case to January 5, 2016. Accordingly, the Motion To Continue (Docket

No. 275) is DENIED as moot.

       It is so ORDERED.

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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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